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                                  3                                   UNITED STATES DISTRICT COURT

                                  4                               NORTHERN DISTRICT OF CALIFORNIA

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                                  6
                                         WHATSAPP INC., et al.,
                                  7                                                         Case No. 19-cv-07123-PJH
                                                        Plaintiffs,
                                  8
                                                 v.                                         ORDER RE MOTION FOR LEAVE TO
                                  9                                                         SEEK RECONSIDERATION
                                         NSO GROUP TECHNOLOGIES
                                  10     LIMITED, et al.,                                   Re: Dkt. 687

                                  11                    Defendants.

                                  12
Northern District of California
 United States District Court




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                                  14          Before the court is defendants’ motion for leave to file a motion for reconsideration.
                                  15   See Dkt. 687. With the trial scheduled to commence in five business days, there is
                                  16   insufficient time to follow the normal protocol for motions for reconsideration, so the court
                                  17   truncates that process here. Defendants’ motion makes three arguments: (1) the court’s
                                  18   final pretrial order is inconsistent with plaintiffs’ prior arguments and the court’s summary
                                  19   judgment order, (2) alternatively, the court should reopen discovery, and (3) alternatively,
                                  20   the court should limit plaintiffs’ trial evidence.
                                  21          The court disagrees with the defense characterization of the pretrial order.
                                  22   However, the lack of clarity of the summary judgment order as it pertains to the
                                  23   conspiracy allegation was apparent at the pretrial conference and the court has prepared
                                  24   a separate order clarifying its ruling. As to the second argument, the court is not inclined
                                  25   to reopen discovery because it appears unlikely that additional discovery would result in a
                                  26   substantially clearer evidentiary record. However, the court sees merit in defendants’
                                  27   second alternative proposal, that any limitations on evidence, argument, or testimony that
                                  28   is not tied to “the conduct which gave rise to liability in the case” should apply equally to
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                                  1    plaintiffs as well as defendants. The court does note that defendants did not raise this

                                  2    argument in their response to plaintiffs’ motions in limine, nor did counsel raise it at the

                                  3    hearing, even though the court opened the floor for counsel to present their proposals as

                                  4    to how to accomplish the line-drawing necessary for trial. Additionally, the court further

                                  5    observes that defendants’ proposed evidentiary timeframe – from April-May 2019 – is

                                  6    unduly limiting, as it would exclude evidence regarding plaintiffs’ security updates and

                                  7    defendants’ workarounds of those updates, which is certainly tied to the conduct that

                                  8    gave rise to liability in this case and, according to plaintiffs, the most significant evidence

                                  9    supporting their request for punitive damages. Additionally, the court notes that like

                                  10   much of the litigation in this case, the argument is general and not tied to many specific

                                  11   items of evidence. As such, even though the equity of the argument is obvious, the line-

                                  12   drawing this close to trial will be challenging.
Northern District of California
 United States District Court




                                  13          Because defendants did not argue, at the hearing, for evidence to be equally

                                  14   limited on both sides, the court will give plaintiffs an opportunity to respond before issuing

                                  15   a ruling. In addition to addressing the arguments raised by defendants, plaintiffs’

                                  16   response should include their proposal for how any equally-applicable evidentiary

                                  17   limitations would be implemented at trial. Defendants shall have until Tuesday, April 22,

                                  18   2025 to file their response. The court will endeavor to issue a ruling on Wednesday, but

                                  19   if the court decides to hold a hearing, it will likely be held by videoconference on the

                                  20   morning of Thursday, April 24, 2025. This order does not alter the deadlines set in the

                                  21   Final Pretrial order. The court will be unavailable Friday through Sunday, attending the

                                  22   Northern District Judicial Conference.

                                  23

                                  24          IT IS SO ORDERED.

                                  25   Dated: April 21, 2025

                                  26                                                     /s/ Phyllis J. Hamilton
                                                                                     PHYLLIS J. HAMILTON
                                  27                                                 United States District Judge
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